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AQ 93 (Rev. 11/13) Search and Seizure Warrant

UNITED STATES DISTRICT CURE.

for the

District of Puerto Rico

CaseNo. 23- S80 (e-

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

[n the Matter of the Search of
(Briefly describe the property to be searched
ov identify the person by name and address)

Residence located at Calle 12 P-17 Urbanization
Extension de Vista Mar Marina, Carolina, Puerto Rico

eee ee eee

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Judicial District of Puerto Rico

fidentify the person or describe the property to be searched ane give its location):

Residence located at Calle 12 P-17 Urbanization Extension de Vista Mar Marina, Carolina, Puerto Rico

See ANachmert A

| find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal sidentifi: the person or deserihe the property to he seized):

See Attachment B

YOU ARE COMMANDED to execute this warrant on or before
% in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night b

26 L003 fnotto exceed [4 davs)

sause aa cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to ___ Magistrate Judge on duty
(Cnited States Magistrate Judge)

J Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized ‘check the appropriate box)

O for —_ days (nor to exceed 30) © until, the facts justifying, the later sp

Date and time issued: slelag ‘/0:3S AMT

ific date of

p. Magistrate Judge

City and state: ‘San quan, Puerto Rico Marshal D. Morgg

Print fe cind title
Case 3:23-mj-00530-MDM Document 3 Filed 05/25/23 Page 2 of 2

AQ 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)
Return Shas doe
Case No.: Date and time warrant executed: Copy of warrantand inventory left with:
23-30 (M) Slitizg Windn oe hubee CY cose

Inventory made in the presence of : \ ‘
Savi Wa Nor, 2 Oo dbizue a

Inventory of the property taken and name of any person(s) seized:

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Certification

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the

designated judge.

Date: 3] | aS
tnader ETFO

Printed name and title

